Case 1:20-cv-00052-SPW Document 267-15 Filed 09/27/23 Page 1 of 4

From: Brett Jensen

To: Ryan Shaffer; Jessica Yuhas; Gerry.Fagan@moultonbellingham.com; Christopher Sweeney; Jon Wilson; Michael

Ce: Rob Stepans: Jared Brannan; carrie. nance@moultonbellingham.com; Barbara Bessey; Sylvia Basnett; Katy
Gannon; James Murnion; Matthew Merrill; Debbie Braaten

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY"s 7/27/2023 Ltr. re Rule 35 Exam

Date: Tuesday, August 1, 2023 2:25:00 PM

Thanks Ryan. | am following up with Dr. Bitz about this. That seems like a sensible solution re the
raw testing data—t just need to make sure he is good with it.

ve also had some continued discussions with WTNY about the business class upgrades and time in
transit. Can we resolve this issue if WTNY agrees to cover the upgrades, i.e. Plaintiffs cover the cost
of seats in economy and WTNY covers the upgrades, and in exchange Plaintiffs cover Dr. Butz’s time
in transit? Like we discussed yesterday, the concession for Dr. Bitz to fly halfway around the world
in lieu of Ms. Mapley completing litigation activities in the forum where she filed suit is already a
major concession. Dr. Blitz has thoroughly explained in his letters and provided supporting studies
showing why in-person assessments are necessary. | frankly don’t understand Plaintiffs’ distinction
between time in transit and travel costs. Both are additional costs directly related to Dr. Butz’s
concession to travel for the examinations. Let me know if that would be a workable compromise.

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24" Street

P.O. Drawer 849

Billings, MT 59103-0849
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From: Ryan Shaffer <ryan@mss-lawfirm.com>
Sent: Monday, July 31, 2023 1:51 PM

To: Brett Jensen <Blensen@brownfirm.com>; Jessica Yuhas <jessica@mss-lawfirm.com>;
Gerry.Fagan@moultonbellingham.com; Christopher Sweeney
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EXHIBIT

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Case 1:20-cv-00052-SPW Document 267-15 Filed 09/27/23 Page 2 of 4

Cc: Rob Stepans <rob@mss-lawfirm.com>; Jared Brannan <jbrannan@mmt-law.com>;
carrie.nance@moultonbellingham.com; Barbara Bessey <BBessey@brownfirm.com>; Sylvia Basnett
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Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Brett,

Following up on our call, so long as Dr. Butz agrees to provide the raw test data to our experts (Bone
and Holmberg) we are good not requiring disclosure to Plaintiffs’ counsel.

Thanks,

Ryan R. Shaffer

Meyer, Shaffer
& Stepans, PLP

Montana Office:

430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
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From: Brett Jensen <Blensen@brownfirm.com>

Sent: Monday, July 31, 2023 10:45 AM

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Case 1:20-cv-00052-SPW Document 267-15 Filed 09/27/23 Page 3 of 4

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Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WITNY's 7/27/2023 Ltr. re Rule 35
Exam

Hi Ryan:

Thanks for your letter. Can you chat with us today at 2pm? | will send out instructions to our
conference line.

Brett C. Jensen
Brown Law Firm, P.C.

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P.O. Drawer 849

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From: Jessica Yuhas <jessica@mss-lawfirm.com>

Sent: Friday, July 28, 2023 2:52 PM

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Subject: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

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Counsel,

Please see our attached response to your letter of July 27, 2023. This will follow via U.S.
Mail.

Thank you,

Jessica Yuhas
Paralegal

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& Stepans, PLP
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